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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

x
In re:
DOREEN HOFFMAN, Case No. 8-18-72852-reg
Chapter 11
Debtor(s)
x
NOTICE OF MOTION

PLEASE TAKE NOTICE that upon the annexed application of
John P. Fazzio, Esq., Attomey for the Debtor y a hearing will be held before the Hon.
Robert E. Grossman , Bankruptcy Judge, to consider the motion for an Order

granting relief as follows:

 

CLA[M AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF

 

 

 

 

Date and time of hearing: July 23, 2018, 1:30pm
Location: U.S. Bankruptcy Court

290 Federal Plaza

Central Islip, New York 11790

Courtroom # 860 , Floor

v`
Dated: June 22 2018 OV)`/: A ,A
Sig“a%' ` U/
Print e; John P.Fazzio,Esq.

Address; 26 Broadway, 215t Floor
New York, NY 10004

Phone: 201-529-8024

Email: jfazzio@fazziolaw.com

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

x

In re:
DOREEN HOFFMAN, CaSe NO. 8-18-72852-reg
Chapter 11
Debtor(s)
x
APPLICATION IN SUPPORT OF MOTION

To THE HoN. Roben E. crossman , Bankruptcy Judge
I, John P. Fazzio, Esq.. A’ctorney For the Debtor , , make this application in

 

support of my motion for the following relief:

 

Motion for Entrv of an Order Estab|ishinq Dead|ine for Fi|inq Proofs of C|aim and
Aporovinq the Fonn and Manner of Notice thereof

In support of this motion, I hereby allege as follows:

d.___ __ ,. _' ude'o' ,1,',9,,', '-.\,i; .
d form of Bar Date Order and form of Bar Date Notice submitted herewith.

        

         

.l C l
propose

 

 

 

 

 

 

 

 

 

 

 

Wherefore, Applicant prays for an Order granting the relief requested.

Dated: 6120/2013
1gnature

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UNITED STATES BANK_RUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

--x
111 re:
DoREEN HOFFMAN, Case NO- 8-13-72352‘1¢§
Chapter 11
Debtor(s)
X
CERTIFICATE OF SERVICE
The undersigned certifies that on JuNE 22, 2015 , a copy of the annexed Motion Was

 

served by depositing same, enclosed in a properly addressed postage-paid envelope, in an official
depository under the exclusive care and custody of the United States Postal Service Within the
State of New York, upon [below specg°jj) the name and mailing address of each party served]:

United States Trustee

attri: A]fred Dimino, Esq.

Long Island F ederal Courthouse
560 Federal Plaza - Room 560
Central Islip, NY 11722-4437

Henry Weinstein

37 Maple Ave.

Cedarhurst NY l 1516-0000
New City Funding Corp.

PO Box 121
Stony Point NY 10980-0000

[. . . . continued on next page]

Dated: ]une 22 2018

 

Signature

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Rushmore Loan Management
PO Box 52708
Irvine CA 92619~0000

Sufi`olk County Water
2045 Route 1112, Suite 5
Coram NY l 1727-0000

USBank NA as LegalTitleTrustee
200 Business Park Drive
Armonk NY 10504-0000

Doreen Hoffman
Debtor-in-Possession
163 Roe Avenue
Patchogue, NY 11772

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

Thaddeus R. Maciag, Esq.
MACIAG LAW, LLc

475 Wall Street

Princeton, New Jersey 08540
(908) 704-8800

Proposed Counsel to the Debtor-in-Possession

 

 

In re: Case No.: 8-18-72852-reg

REEN HOFFM
DO AN’ Chapter ll

Dethr-m'POSSeSSlOn' Judge: Hon. Robert E. Grossman

 

 

ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM
AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF

Upon the application of the above-captioned Debtor and Debtor-in-Possession (the
“Debtor”), for an order, pursuant to Federal Rule of Bankruptcy Procedure (“ Bankruptcy
Rule”) 3003(0)(3), fixing a deadline (the “Bar Date”) and establishing procedures for filing
proofs of claim and approving the form and manner of service thereof, and it appearing that the
relief requested is in the best interests of the Debtors, their estates, and creditors and that
adequate notice has been given and that no further notice is necessary; and after due deliberation

and good and sufficient cause appearing therefore, it is hereby

ORDERED, that except as otherwise provided herein, all persons and entities,
(including, without limitation, individuals, partnerships, corporations, joint ventures, trusts and

governmental units) that assert a claim, as defined in Section 101(5) of ll U.S.C. §§lOl et seq.

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(the “Bankruptcy Code”), against the Debtors which arose on or prior to the filing of the
Chapter 11 petitions on April 26, 2018 (the “Filing Date”), shall file a proof of such claim in

writing so that it is received on or before August 24, 2018; (the “ Bar Date”) and it is further

ORDERED, that notwithstanding any other provision hereof, proofs of claim filed by
governmental units must be filed on or before October 23, 2018 (the date that is 180 days after

the date of the order for reliet); and it is further

ORDERED, that the following procedures for the filing of proofs of claim shall apply:

(a) Proofs of claim must conform substantially to Official Bankruptcy Form No. 10;

(b) Attomeys (with full access accounts) and employees of institutional creditors (with
limited access accounts) should file proofs of claim electronically on the Court’s
Case Management/Electronic Case File (“ CM/'ECF”) system. Those without
accounts with the CM/ECF system shall file their proofs of by mailing or delivering
the original proof of claim to the United States Bankruptcy Couit, Eastern District of
New York, Alfonse M. D’Amato U.S. Courthouse, 290 Federal Plaza, Central Islip,

NY 11722;

(c) Proofs of claim will be deemed filed only when received by the Clerk of the Court

on or before the Bar Date;

(d) Proofs of claim must (i) be signed; (ii) include supporting documentation (if
voluminous, attach a surnmary) or an explanation as to why documentation is not
available; (iii) be in the English language; and, (iv) be denominated in United

States currency;

and it is further

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(a)

(b)

(C)
(d)

(e)

ORDERED, that the following persons or entities need not file a proof of claim on or

prior to the Bar Date:

Any claim as to which the holder has already filed a proof of claim against the Debtor
in the above-captioned case in a form substantially similar to Official Bankruptcy

Form No. 10;

Any person or entity whose claim is listed on the Schedules of Assets and Liabilities
filed by the Debtor (collectively, the “Schedules”), if (i) the claim is n_ot
scheduled as “disputed”, “contingent” or “unliquidated”; and (ii) the claimant agrees
with the amount, nature and priority of the claim as set forth in the Schedules; aig (iii)
the claimant does not dispute that the claim is an obligation of the specific Debtor

against which the claim is listed in the Schedules;

Any claim that heretofore has been allowed in this case by Order of this C o u rt ;

Any holder of a claim for which a different deadline for filing a proof of claim in this case
has already been fixed by this Couit; or

Any holder of a claim allowable under sections 503(b) and 507(a)(2) of the Bankruptcy

Code as an expense of administration of the Debtor’s estate; and it is further

ORDERED, that any person or entity that holds a claim that arises from the rejection of
an executory contract or unexpired lease, as to which the order authorizing such rejection is
dated on or before the date of entry of this Order, must file a proof of claim based on such
rejection on or before the Bar Date, and any person or entity that holds a claim that arises from
the rejection of an executory contract or unexpired lease, as to which an order authorizing such

rejection is dated after the date of entry of this Order, must file a proof of claim on or before such

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date as the Court may fix in the applicable order authorizing such rejection; and it is further

ORDERED, that holders of equity security interests in the Debtors need not file proofs
of interest with respect to the ownership of such equity interests, but if such holder asserts a
claim against the Debtor (including a claim relating to an equity interest or the purchase or sale
of such equity interest), a proof of such claim shall be filed on or prior to the Bar Date pursuant

to the procedures set forth in this Order; and it is further

ORDERED, that if the Debtor amends or supplements the Schedules subsequent to the
date hereof, the Debtor shall give notice of any amendment or supplement to the holders of
claims affected thereby, and such holders shall have 30 days from the date of such notice to file

proofs of claim and shall be given notice of that deadline; and it is further

ORDERED, that nothing in this Order shall prejudice the right of the Debtors or any
other party in interest to dispute or assert offsets or defenses to any claim reflected in the

Schedules; and it is further

ORDERED, that pursuant to Bankruptcy Rule 3003(c)(2), all holders of claims that fail
to comply with this Order by timely filing a proof of claim in appropriate form shall not be
treated as a creditor with respect to such claim for the purposes of voting and distribution; and it

is further

ORDERED, that a copy of the notice substantially in the form annexed hereto is
approved and shall be deemed adequate and sufficient if served by first-class mail at least 35

days prior to the Bar Date on:

(a) the United States Trustee;

(b) counsel to each official committee;

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(C)

(d)
(€)

(f)
(s)

(ii)

all persons or entities that have requested notice of the proceedings in this
case;

all persons or entities that have filed claims in this case;

all creditors and other known holders of claims as of the date of this Order,
including all persons or entities listed in the Schedules as holding claims;

All parties to executory contracts and unexpired leases of the Debtor;

All parties to litigation with the Debtor;

The Internal Revenue Service for the district in which the case is pending and, if
required by Bankruptcy Rule 2002@), the Securities and Exchange Commission

and any other required governmental units; and it is further

ORDERED, that the Debtor is authorized and empowered to take such steps and

perform such acts as may be necessary to implement and effectuate the terms of this Order; and

it is further

ORDERED, that entry of this Order is without prejudice to the right of the Debtors to

seek a further order of this Court fixing a date by which holders of claims or interests not subject

to the Bar Date established herein must file such proofs of claim or interest or be barred from

doing so.

Dated:

, New York
, 2018

 

UNITED STATES BANKRUPTCY JUDGE

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

John P. Fazzio llI, Esq.
FAZZIO LAW

26 Broadway

2lst Floor

New York, NY 10004
(201) 529-8024

Thaddeus R. Maciag, Esq.
MACIAG LAW, LLC

475 Wall Street

Princeton, New Jersey 08540
(908) 704-8800

Proposed Counsel to the Debtor-i°n-Possession

 

In re:

DOREEN HOFFMAN,

Debtor-in-Possession.

 

 

 

Case No.: 8-18-72852-reg

Chapter 11

Judge: Hon. Robert E. Grossman

NOTICE OF DEADLINE REQUIRING FILING OF PROOFS OF CLAIM
ON OR BEFORE AUGUST 21, 2018

TO: ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST DOREEN HOFFMAN :

The United States Bankruptcy Court for the Eastem District of New York has entered an
Order establishing August 24, 2018 (the “Bar Date”) as the last date for each person or entity
(including individuals, partnerships, corporations, joint ventures, trusts and governmental units) to

file a proof of claim against DOREEN HOFFMAN (the “ Debtor”).

The Bar Date and the procedures set forth below for filing proofs of claim apply to all

claims against the Debtor that arose prior to April 26, 2018 (the “Filing Date”), the date on which

the Debtor commenced his case under Chapter ll of the United States Bankruptcy Code, except for

those holders of the claims listed in Section 4 below that are specifically excluded from the Bar

Date filing requirement

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l. WHO MUST FILE A PROOF OF CLAIM
You MUST file a proof of claim to vote on a Chapter l 1 plan filed by the Debtor or to share

in distributions from the Debtor’s bankruptcy estate if you have a claim that arose prior to Apri| 26,
2018 (the “Filing Date”), and it is not one of the types of claim described in Section 4 below.
C|aims based on acts or omissions of the Debtors that occurred before the Filing Date must be filed
on or prior to the Bar Date, even if such claims are not now fixed, liquidated or certain or did not
mature or become fixed, liquidated or certain before the Filing Date,
Under Section 101 (5) of the Bankruptcy Code and as used in this Notice, the word
“claim” means: (a) a right to payment, whether or not such right is reduced to judgrnent,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance
if such breach gives rise to a right to payment, whether or not such right to an equitable remedy
is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or
unsecured.
2. WHAT TO FILE
Your filed proof of claim must conform substantially to Official Form No. 410; a case-
specific proof of claim form accompanies this notice. Additional proof of claim forms may be
obtained at www.uscourts.gov/bkfonns
All proof of claim forms must be signed by the claimant or, if the claimant is not an
individual, by an authorized agent of the claimant It must be written in English and be
denominated in United States currency. You should attach to your completed proof of claim any
documents on which the claim is based (if voluminous, attach a summary).
Your proof of claim fo rm must not contain complete social security numbers or
taxpayer identification numbers (only the last four digits), a complete birth date (only the year),

the name of a minor (only the minor’s initials) or a financial account number (only the last four
2

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digits of such financial account).

3. WHEN AND WHERE TO FILE

Except as provided for herein, all proofs of claim must be filed so as to be received on or
before August 24, 2018.

Attomeys (with full access accounts) and employees of institutional creditors (with limited
access accounts) should file proofs of claim electronically on the Court’s Case
Management/Electronic Case File (“ CM/ECF”) System. Those without accounts to the CM/ECF
system shall file their proofs of claim by mailing or delivering the original proof of claim to the
Court at the address provided below:

United States Bankruptcy Court
Eastem District ofNew York
Alfonse M. D’Amato U.S. Courthouse
290 Federal Plaza
Central Islip, NY 11722
A proof of claim Will be deemed timely filed only when rM by the Bankruptcy Court

on or before the Bar D_ate. Proofs of claim may not be delivered by facsimile, telecopy or electronic
mail transmission

Except as provide for herein, all proofs of claim must be filed as to be received on or before
August 24, 2018 at the following address:
IF DELIVERED BY HAND :

United States Bankruptcy Court

Eastem District ofNew York

Conrad B. Duberstein U.S. Bankruptcy Courthouse
271 Cadman Plaza East, Suite 1595

Brooklyn, NY 1 1201-1800

OR

United States Bankruptcy Court
Eastem District ofNew York
Alfonse M. D’Amato U.S. Courthouse

3

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290 Federal Plaza
Central Islip, NY 11722

WHO NEED NOT FILE A PROOF OF CLAllVI

You do not need to file a proof of claim on or prior to the Bar Date if you are:

(a)

(b)

(C)

(d)

A person or entity that has already filed a proof of claim against the Debtors with
the Clerk of the Bankruptcy Court for the Southern District of Ncw York in a
form substantially similar to Officia| Bankruptcy Form No. 10;

A person or entity whose claim is listed on the Schedules of Assets and
Liabilities filed by the Debtor (collectively, the “Schedules”) if (i) the claim
is n_ot scheduled as “disputed,” “contingent," or “unliquidated" §§ (ii) you do not
agree with the amount, nature and priority of the claim as set forth in the
Schedules;

A holder of a claim that has already been allowed in this case by order of the

Court;

A holder of a claim for which a specific deadline has previously fixed by this

Court; or

A holder of a claim allowable under § 503(b) and § 507(a) (2) of the Bankruptcy

Code as an expense of administration of the Debtor’s estate.

If you are a holder of an equity interest in the Debtor, you need not file a proof of interest

with respect to the ownership of such equity interest at this time. However, if you assert a claim
against the Debtor, including a claim relating to such equity interest or the purchase or sale of
such interest, a proof of such claim must be filed on or prior to the Bar Date pursuant to

procedures set forth in this Notice.

This Notice is being sent to many persons and entities that have had some relationship

with or have done business with the Debtor but may not have an unpaid claim against the

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Debtor. The fact that you have received this Notice does not mean that you have a claim or

that the Debtor or the Court believes that you have a claim against the Debtor.

5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

If you have a claim arising out of the rejection of an executory contract or unexpired lease
as to which the order authorizing such rejection is dated on or before , 2018, the date
of entry of the Bar Order, you must file a proof of claim based on such rejection or before the later
of the Bar Date or the date that is 30 days after the date of the order authorizing such rejection.
Any person or entity that has a claim arising from the rejection of an executory contract or
unexpired lease, as to which the order is dated after the date of entry of the Bar Order, you must
file a proof of claim with respect to such claim by the date fixed by the Court in the applicable

order authorizing rejection of such contract or lease,

6. CONSEQUENCES OF FA]LURE TO FILE A PROOF OF CLAIlVI BY THE BAR
DATE -

ANY HOLDER OF A CLAIM THAT IS NOT EXCEPTED FROM THE
REQUIREMENTS OF THIS ORDER, AS SET FORTH IN SECTION 4 ABOVE, AND THAT
FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE APPROPRIATE FORM. WILL BE
BARRED FROM ASSERTING lTS CLAIM AGAINST THE DEBTOR AND ITS CHAPTER 11
ESTATE, VOTING ON ANY PLAN OF REORGANIZATION FILED IN TI-IIS CASE, AND
PARTlCIPATING IN ANY DISTRIBUTION lN THE DEBTOR’S CASE ON ACCOU`NT OF
TH AT CLAIM.

7. THE DEBTOR’S SCHEDULES AND ACCESS THERETO

You may be listed as the holder of a claim against the Debtor in the Debtor’s Schedules.
If you agree with the nature, amount and status of your claim as listed in the Debtor’s Schedules,
and if you case is not described as “disputed”, “contingent” or “unliquidated”, you do not need

to file a proof of claim, Otherwise, you must file a proof of claim before the Bar Date in
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accordance with the procedures set forth in this Notice.

Copies of the Debtors’ Schedules are available for inspection on the Court’s lnternet
Website at httQ://www.nyeb.uscouits.gov. A login and password to the Court’s Public Access to
Electronic Court Records (“PACER”) are required to access this information and can be
obtained through the PACER Service Center at http://www.pacer.psc.uscourts.gov. Copies of
the Schedules may also be examined between the hours of 9:00 a.m. and 4:30 p.m., Monday
through Friday at the Office of the Clerk of the Bankruptcy Court, Alfonse M. D’Amato U.S.
Courthouse, 290 Federal Plaza, Central Islip, NY 11722. Copies of the Debtors’ Schedules may
also be obtained by written request to Debtor’s counsel at the address and telephone number set
forth below:

John P. Fazzio III, Esq.

FAZZIO LAW

26 Broadway

215t Floor

New York, NY 10004
(201) 529-8024

If you are unsure about these matters, including whether you should file a proof

of claim, you may wish to consult an attorney.

Dated: , New York BY ORDER OF THE COURT
, 2018

COUNSEL FOR THE DEBTOR
AND DEBTOR IN POSSESSION:

John P. Fazzio Ill, Esq.
FAZZIO LAW

26 Broadway

2 l st Floor

New York, NY 10004
(201) 529-8024

